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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO: _____________________

  AQUEDUCT CONSULTING, LLC,

                        Plaintiff,

         -against-

  WHSE SUPPLY INC. and SALVATORE RUSSO,

                    Defendants.
  _________________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff Aqueduct Consulting LLC (“Plaintiff” or “Aqueduct”), by and through its counsel,

  as and for its Complaint against WHSE Supply Inc. (“WHSE”) and Salvatore Russo (“Russo”)

  (together with WHSE, “Defendants”), hereby alleges as follows:

                                     NATURE OF THE ACTION

         1.      This action arises out of Defendants’ unjustified and material breach of two

  agreements duly entered into with Aqueduct for the sale of certain COVID-19 test kits to

  Aqueduct, pursuant to which Aqueduct duly paid Defendants in full, but which Defendants have

  unjustifiably breached by failing to supply the test kits to Aqueduct or otherwise return the sums

  paid by Aqueduct.

         2.      More specifically, Defendants -- purporting to act as a broker in the sale of COVID-

  19 test kits to Aqueduct -- entered into two contracts with Aqueduct, pursuant to which Defendants

  agreed to supply 27,000 Abbot BinaxNOW Covid 19 Test Kits (the “Kits”) to Aqueduct in

  exchange for payment of $540,000. Aqueduct paid Defendants in full, but has only received 2,000

  of the 27,000 contracted-for Kits. Although Defendants have since acknowledged their breach of
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  the agreements and refunded Aqueduct $50,000, Defendants owe Aqueduct no less than an

  additional $450,000 (i.e., the total amount paid by Aqueduct, less the contracted price for 2,000

  Kits, less the return of $50,000).

         3.      Despite repeated demands, Defendants have inexcusably refused to supply the

  remaining Kits to Aqueduct or return the sums owed. Instead, Defendants have embarked on a

  campaign of lies, misrepresentations, threats, and untenable excuses for why they have not

  supplied the remaining Kits or returned the sums due and owing.

         4.      As it is now clear, Defendants have simply stolen the remaining funds from

  Aqueduct, which, upon information and belief, was their plan all along.

         5.      As a direct and proximate result of Defendants’ conduct, Aqueduct has suffered,

  and continues to suffer, significant financial and reputational harm.

         6.      Accordingly, for these reasons and as further set forth herein, Defendants are liable,

  jointly and severally, to Aqueduct for breach of contract, unjust enrichment, fraud, fraudulent

  inducement, conversion, and money had and received.

                                              PARTIES

         7.      Plaintiff is a limited liability company organized and existing under the laws of the

  State of Connecticut with its principal place of business located in Stamford, Connecticut.

  Plaintiff’s sole member is an individual domiciled and residing in the State of New York.

         8.      WHSE is an entity organized and existing under the laws of the State of Florida

  with its principal place of business located at 2520 Coral Way, Coral Gables, Florida 33145. Upon

  information and belief, Russo is an officer, director and/or principal of WHSE. Upon further

  information and belief, WHSE is not a citizen of the State of Connecticut or the State of New York.




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          9.     Russo is an individual domiciled and residing in the State of Florida. Upon

  information and belief, Russo is an officer, director and/or principal of WHSE.

                                       JURISDICTION & VENUE

          10.    This Court has diversity jurisdiction under 28 U.S.C. § 1332 in that complete

  diversity of citizenship exists as between Plaintiff, on the one hand, and Defendants, on the other

  hand, and the amount in controversy, exclusive of interest and costs, exceeds the sum or value of

  $75,000.

          11.    This Court has supplemental jurisdiction over any and all state law claims alleged

  herein pursuant to 28 U.S.C. § 1367(a) in that such claims are so related to claims within the

  Court’s original jurisdiction that they form part of the same case or controversy under Article III

  of the United States Constitution.

          12.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(1) in that

  Defendants reside in the Southern District of Florida and all Defendants are residents of the State

  of Florida.

          13.    Venue is also proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as

  a substantial part of the events or omissions giving rise to the claims asserted occurred in the

  Southern District of Florida. In addition to the harm caused to Plaintiff in the Southern District of

  Florida, Defendants have, inter alia, directed their activities and marketing of their services to

  residents in this judicial district, and otherwise engaged in purposeful and continuing business

  activities in this judicial district. Defendants are, at a minimum, constructively aware of their

  continuous and substantial commercial interactions with residents in this judicial district and, upon

  information and belief, have generated substantial revenue from their activities this judicial

  district.



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                                   FACTUAL BACKGROUND

         14.     On October 22, 2021, Aqueduct entered into an agreement with Defendants for the

  purchase of 5,000 Kits for the price of $100,000. To memorialize the terms of the parties’

  agreement, the parties executed a purchase order bearing Invoice #4455, a true and correct copy

  of which is annexed hereto as Exhibit 1.

         15.     On October 22, 2021, Aqueduct wired to WHSE $100,000 for the purchase price

  of the Kits covered by Invoice #4455.

         16.     On October 25, 2021, Aqueduct entered into a second agreement with Defendants

  for the purchase of an additional 22,000 Kits for the price of $440,000. To memorialize the terms

  of the parties’ agreement, the parties executed a purchase order bearing Invoice #90077, a true and

  correct copy of which is annexed hereto as Exhibit 2.

         17.     On October 26, 2021, Aqueduct wired to WHSE $440,000 for the purchase price

  of the Kits covered by Invoice #90077.

         18.     On October 26, 2021, pursuant to Aqueduct’s agreement with Defendants,

  Aqueduct arranged for pickup of the 5,000 Kits pursuant to Invoice #4455. However, when

  Aqueduct’s truck arrived at the warehouse in Miami, Florida where Aqueduct was to pick up the

  Kits, the Kits were not yet ready for pickup. As such, later that day, Aqueduct sent its truck back

  to the warehouse to pick up the Kits, but was only able to pick up one of two pallets, which

  contained 2,000 Kits. Upon information and belief, Aqueduct was only able to pick up 2,000 Kits

  because Defendants did not pay the end-supplier, Medical & Co. LLC, for all Kits, despite having

  been paid in full by Aqueduct.

         19.     Upon learning that Aqueduct was only able to pick up 2,000 of the 5,000

  contracted-for Kits, Aqueduct called Defendants, who guaranteed that the shortage of Kits from



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  Invoice #4455 (i.e., 3,000 Kits) would be added to Aqueduct’s pickup of the 22,000 Kits covered

  by Invoice #90077

         20.     Separately, however, Defendants informed Aqueduct that 4,300 of the 22,000 Kits

  covered by Invoice #90077 had already been sold and Aqueduct would immediately receive a

  refund of $86,000 for the shortage.

         21.     Accordingly, on October 27, 2021, Aqueduct arranged to pick up 20,700 Kits from

  the warehouse in Miami, Florida (i.e., 22,000 Kits less the 4,300 that were purportedly already

  sold, plus the missing 3,000 Kits from Invoice #4455).

         22.     However, when Aqueduct’s truck arrived at the facility in Miami, Florida to pick

  up the Kits, Aqueduct was informed by Medical & Co. LLC that none of the Kits would be released

  to Aqueduct because the Kits were purportedly not paid for by Defendants, despite Aqueduct’s

  payment in full to Defendants for the Kits.

         23.     Aqueduct immediately called Defendants to inquire why the end-supplier had not

  been paid despite Aqueduct’s payment in full to Defendants, and Defendants instructed Aqueduct

  to re-schedule the pickup for the next day to give Defendants time for their wire to Medical & Co.

  LLC to clear. Aqueduct reasonably relied upon Defendants’ representation that the funds would

  be remitted by Defendants to Medical & Co. LLC forthwith. This representation, however, was

  false, and known by Defendants to be false when made and made solely for the purpose of inducing

  Aqueduct’s reliance.

         24.     Indeed, the next day, Aqueduct was informed by Medical & Co. LLC that the Kits

  still had not been paid for. Additionally, Medical & Co. LLC informed Aqueduct that it was

  completely unaware of Defendants and their role in the transaction.




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          25.    Accordingly, it became apparent to Aqueduct that Defendants had engaged in a

  scheme by which it promised to act as a broker in connection with the sale of the Kits, accepted

  payment from Aqueduct for the Kits, but instead of tendering payment to the end-supplier, it

  pocketed Aqueduct’s money and refused to return the sums paid or deliver any of the outstanding

  Kits owed.

          26.    In the days immediately following, Aqueduct repeatedly demanded repayment

  from Defendants. When presented with these demands, Defendants lied to Aqueduct, claiming

  that the end-supplier was refusing to release the Kits unless Aqueduct paid a higher price for the

  Kits. When Aqueduct refused to pay a higher price than contracted for and demanded immediate

  return of the sums paid less the amount for the 2,000 Kits it did receive, Defendants acknowledged

  breach of the agreements, returned $50,000 to Aqueduct, and promised to refund the remaining

  sums.

          27.    However, to date, Defendants have failed to return to Aqueduct the remaining

  $450,000 owed and have otherwise failed to make available for pick up the remaining 25,000 Kits.

          28.    As a direct and proximate result of Defendants’ intentional misconduct, Aqueduct

  has suffered, and continues to suffer, significant financial and reputational injury.

                           AS AND FOR A FIRST CAUSE OF ACTION
                                    (Breach of Contract)

          29.    Plaintiff repeats and realleges each and every allegation in the paragraphs 1-28 as

  though fully set forth herein.

          30.    Aqueduct duly entered into valid and binding agreements with Defendants for the

  purchase of 27,000 Kits for the total purchase price of $540,000.

          31.    At all times, Aqueduct duly performed its obligations under the parties’ agreements,

  including tendering payment in full for the purchase of the Kits.

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         32.       Defendants, however, materially and unjustifiably breached their duties under the

  agreements resulting in significant financial and reputational harm to Aqueduct.

         33.       Specifically, pursuant to Invoice #4455, Defendants agreed to supply to Aqueduct

  5,000 Kits for the price of $100,000. Despite receipt of full payment from Aqueduct for these

  Kits, Defendants only supplied 2,000 of the 5,000 Kits contracted for.

         34.       Additionally, pursuant to Invoice #90077, Defendants agreed to supply to Aqueduct

  22,000 Kits for the price of $440,000. Despite receipt of full payment from Aqueduct for these

  Kits, Aqueduct has not received any of the Kits for which it contracted.

         35.       Defendants, admitting their breaches of the agreements, refunded $50,000 to

  Aqueduct, and promised to refund the remaining sums due and owing.

         36.       To date, however, Defendants failed to refund Aqueduct the remaining sums due

  and owing.

         37.       Accordingly, as a direct and proximate result of Defendants’ breach of the

  agreements, Aqueduct has been injured in an amount to be determined at trial, but in no event less

  than $450,000.

                          AS AND FOR A SECOND CAUSE OF ACTION
                                    (Unjust Enrichment)

        38.        Plaintiff repeats and realleges each and every allegation in paragraphs 1-28 as

  though fully set forth herein.

        39.        Based on the facts described herein, Defendants have become unjustly enriched at

  Plaintiff’s expense.

        40.        Specifically, Defendants accepted $540,000 in payment from Plaintiff for the

  purchase of 27,000 Kits, but have only supplied 2,000 Kits and only returned $50,000 to Plaintiff.

  Accordingly, Defendants remain in possession of $450,000 of Plaintiff’s money.

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        41.      It would be against equity and good conscience to permit Defendants to retain the

  benefits that they have realized at Plaintiff’s expense.

        42.      Accordingly, Defendants have been unjustly enriched at Plaintiff’s expense in an

  amount to be determined at trial, but in no event less than $450,000.

                          AS AND FOR A THIRD CAUSE OF ACTION
                                         (Fraud)

        43.      Plaintiff repeats and realleges each and every allegation in paragraphs 1-28 as

  though fully set forth herein.

        44.      Defendants made multiple false statements of material fact to Aqueduct for the

  purpose of deceiving Aqueduct, upon which Aqueduct reasonably relied upon, resulting in

  significant financial and reputational injury.

        45.      Specifically, Defendants guaranteed Aqueduct that it would supply 27,000 Kits to

  Aqueduct. This representation was false and made for the purpose of deceiving Aqueduct.

        46.      Indeed, to this end, Defendants misrepresented to Aqueduct that it had a pre-

  existing relationship with the end-supplier of the Kits such that it guaranteed release of the Kits to

  Aqueduct upon payment. The end-supplier, however, has represented to Aqueduct that it had no

  prior dealings or relationship with Defendants and was unaware of their role in connection with

  the purchase of the Kits.

        47.      Defendants further misrepresented to Aqueduct that it would refund Aqueduct for

  the Kits it did not supply under Invoice #44455. This representation was false, known to be false

  when made, and was made for the purpose of inducing Aqueduct’s reliance.

        48.      Thereafter, Defendants misrepresented to Aqueduct that the remaining Kits from

  Invoice #4455 would be supplied in connection with Aqueduct’s pickup of the Kits covered by




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  Invoice #90077. Again, this representation was false and known by Defendants to be false when

  made.

          49.    Aqueduct reasonably relied upon Defendants’ material misrepresentations and

  sustained serious economic and reputational injury as a result of such reliance, including the loss

  of at least $450,000.

          50.    Indeed, in addition to the loss of its funds, Aqueduct incurred costs in its attempted

  pick-up of the Kits and, significantly, due to Defendants’ conduct, as described, Aqueduct was

  unable to redistribute the Kits that it had promised to its end-customers.

          51.    Accordingly, Plaintiff has been injured in an amount to be determined at trial, but

  in no event less than $450,000.

                          AS AND FOR A FOURTH CAUSE OF ACTION
                                   (Fraudulent Inducement)

          52.    Plaintiff repeats and realleges each and every allegation in paragraphs 1-28 as

  though fully set forth herein.

          53.    In order to induce Aqueduct to transfer $540,000 to WHSE and Russo, Defendants

  misrepresented material facts to Aqueduct, including that Defendants had a pre-existing

  relationship with the end-supplier of the Kits such that it could guarantee release of the Kits to

  Aqueduct upon payment.

          54.    Defendants knew their misrepresentations of material fact were false when made,

  and were made with the intention of inducing Aqueduct to rely on such misrepresentations.

          55.    Aqueduct reasonably relied upon Defendants’ misrepresentations, which caused

  significant financial and reputational injury to Aqueduct, including the loss of $450,000.

          56.    Accordingly, Plaintiff has been injured in an amount to be determined at trial, but

  in no event less than $450,000.

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                           AS AND FOR A FIFTH CAUSE OF ACTION
                                        (Conversion)

         57.     Plaintiff repeats and realleges each and every allegation in paragraphs 1-28 as

  though fully set forth herein.

         58.     Defendants have, without authority, assumed and exercised dominion and control

  over Aqueduct’s specific property, namely its funds totaling $450,000.

         59.     Defendants’ unauthorized assumption and exercise of dominion and control over

  Aqueduct’s property was done intentionally to interfere with Plaintiff’s ownership of such property

  and to the exclusion of Plaintiff’s rights.

         60.     Accordingly, Plaintiff has been injured in an amount to be determined at trial, but

  in no event less than $450,000.

                           AS AND FOR A SIXTH CAUSE OF ACTION
                                  (Money Had And Received)

         61.     Plaintiff repeats and realleges each and every allegation in paragraphs 1-28 as

  though fully set forth herein.

         62.     Defendants received money from Plaintiff belonging to Plaintiff.

         63.     Defendants benefited from the receipt of the money from Plaintiff.

         64.     Despite due demand, Defendants have refused to return the sums due and owing to

  Plaintiff and which rightfully belong to Plaintiff.

         65.     It would be against equity and good conscience to permit Defendants to retain the

  money rightfully belonging to Plaintiff.

         66.     Accordingly, Plaintiff has been injured in an amount to be determined at trial, but

  in no event less than $450,000.




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         WHEREFORE, Plaintiffs respectfully request that judgment be entered against

  Defendants as follows:

             a. On the First Cause of Action, awarding Plaintiff damages in an amount to be
                determined at trial, but in no event less than $450,000;

             b. On the Second Cause of Action, awarding Plaintiff damages in an amount to be
                determined at trial, but in no event less than $450,000;

             c. On the Third Cause of Action, awarding Plaintiff damages in an amount to be
                determined at trial, but in no event less than $450,000;

             d. On the Fourth Cause of Action, awarding Plaintiff damages in an amount to be
                determined at trial, but in no event less than $450,000;

             e. On the Fifth Cause of Action, awarding Plaintiff damages in an amount to be
                determined at trial, but in no event less than $450,000;

             f. On the Sixth Cause of Action, awarding Plaintiff damages in an amount to be
                determined at trial, but in no event less than $450,000;

             g. Awarding Plaintiff punitive damages, pre-judgment and post-judgment interest,
                attorneys’ fees, costs, expenses, and disbursements; and

             h. Awarding Plaintiff such other and further relief as the Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

  any issues so triable by right.

  Dated: West Palm Beach, FL
         November 9, 2021
                                                       McLAUGHLIN & STERN PLLC

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